Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 1 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 2 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 3 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 4 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 5 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 6 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 7 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 8 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 9 of 49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 10 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 11 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 12 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 13 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 14 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 15 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 16 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 17 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 18 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 19 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 20 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 21 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 22 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 23 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 24 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 25 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 26 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 27 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 28 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 29 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 30 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 31 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 32 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 33 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 34 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 35 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 36 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 37 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 38 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 39 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 40 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 41 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 42 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 43 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 44 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 45 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 46 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 47 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 48 of
                                        49
Case 14-03693-MM7   Filed 05/08/14   Entered 05/08/14 15:28:31   Doc 1-2   Pg. 49 of
                                        49
